
PER CURIAM.
Appellant raises two issues in this appeal. We affirm on the second and reverse as to the first. Hosmer v. State, 523 So.2d 184 (Fla. 1st DCA 1988), holds that it is improper to impose a departure sentence upon revocation of probation without providing written reasons even if the original sentence was a valid departure sentence based on a negotiated plea. As the state properly concedes, the instant case must be remanded for resen-tencing within the original guidelines cell or a one-cell bump-up. See Fla. R.Crim. P. 3.701(d)(14). Accordingly, we remand the cause to the trial court for resentencing.
MINER, ALLEN and PADOVANO, JJ., concur.
